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                                                              I N T H E U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                  F O R T H E DI S T RI C T O F M A R Y L A N D

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          D ef e n d a nt.                                                                    *

                                                                     M O TI O N F O R A D MI S SI O N P R O H A C VI C E

                    I, Ni c h ol a s KKatz
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C o urt.              I a m m o vi n g t h e a d missi o n of DDavid
                                                                a vi d P.
                                                                       P. RRoosa
                                                                            oosa

t o a p p e ar pr o h a c vi c e i n t his c as e as c o u ns el f or SSee
                                                                        e e Att a c h m e nt AA
                                                                            Attachment                                                                              .


                    W e c ertif y t h at:

                    1. T h e pr o p os e d a d m itt e e is n ot a m e m b er of t h e M ar yl a n d b ar a n d d o es n ot m ai nt ai n
                       a n y l a w offi c e i n M ar yl a n d

                    2. T h e pr o p os e d a d mitt e e is a m e m b er i n g o o d st a n di n g of t h e b ars of t h e f oll o wi n g
                       St at e C o urts a n d/ or U nit e d St at es C o urts:

                                    St at e C o urt & D at e of A d missi o n                               U. S. C o urt & D at e of A d missi o n
                         WWashington
                           a s hi n gt o n 111/2012
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                                                                                                         S D C WWestern
                                                                                                                 e st er n WWA
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                                                                                                                                 3/ 2 0 1 3




                    3. D uri n g t h e t w el v e m o nt hs i m m e di at el y pr e c e di n g t his m oti o n, t h e pr o p os e d a d mitt e e
                       h as b e e n a d mitt e d pr o h a c vi c e i n t his C o urt _zzero
                                                                                          _er _o _((0)0)_ _ _ ti m e(s).

                    4. T h e pr o p os e d a d mitt e e h as n e v er b e e n dis b arr e d, s us p e n d e d, or d e ni e d a d missi o n t o
                       pr a cti c e l a w i n a n y j uris di cti o n. ( N O T E: If t h e pr o p os e d a d mitt e e h as b e e n
                       dis b arr e d, s us p e n d e d, or d e ni e d a d missi o n t o pr a cti c e l a w i n a n y j uris di cti o n, t h e n
                       h e/s h e m ust s u b mit a st at e m e nt f u ll y e x pl ai ni n g all r el e v a nt f a cts.)

                    5. T h e pr o p os e d a d mitt e e is f a mili ar wit h t h e M ar yl a n d Att or n e ys ’ R ul es of Pr of essi o n al
                       C o n d u ct, t h e F e d er al R ul es of Ci vil Pr o c e d ur e, t h e F e d er al R ul es of E vi d e n c e, t h e
                       F e d er al R ul es of A p p ell at e Pr o c e d ur e, a n d t h e L o c al R ul es of t his C o urt , a n d
                       u n d erst a n ds h e/s h e s h all b e s u bj e ct t o t h e dis ci pli n ar y j uris di cti o n of t his C o urt.

P H V M oti o n ( 12/ 2 0 1 8 )                                                                                                                          P a g e 1 of 2
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                    6. T h e pr o p os e d a d mitt e e u n d erst a n ds a d missi o n pr o h a c vi c e is f or t his c as e o nl y a n d
                       d o es n ot c o nstit ut e f or m al a d missi o n t o t h e b ar of t his C o urt.

                    7. Eit h er t h e u n d ersi g n e d m o v a nt or _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,
                       is als o a m e m b er of t h e b ar of t his C o urt i n g o o d st a n di n g, a n d will s er v e as c o-
                       c o u ns el i n t h es e pr o c e e di n gs.

                    8. T h e $ 1 0 0. 0 0 f e e f o r a d missi o n p r o h a c vi c e a c c o m p a ni es t his m oti o n.

                    9. W e h er e b y c ertif y u n d er p e n alti es of p erj ur y t h at t h e f or e g oi n g st at e m e nts ar e tr u e
                       a n d c orr e ct.

                                                                                       P R O P O S E D A D MI T T E E
M O V A NT                                                                                                        _ _ _ _ _/ s/ _ _ _ _ _

                                  / s/                                                                    ( Si g n e d b y Ni c h ol a s K at z
                                                                                                 wit h p er mi s si o n fr o m D a vi d P. R o o s a
Si g n at ur e                                                                         Si g n at ur e
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Pri nt e d n a m e a n d b ar n u m b er                                               Pri nt e d n a m e
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Offi c e n a m e                                                                       Offi c e n a m e

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A d dr ess                                                                             A d dr ess
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 (301)      0 8- 4 1 2 3                                                               ((206)
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 nkatz@wearecasa.org                                                                   dr o o s a @fri e d m a nr u bi n. c o m
                                                                                       droosa@friedmanrubin.com
E m ail A d dr ess                                                                     E m ail A d dr ess




P H V M oti o n ( 12/ 2 0 1 8 )                                                                                                                        P a g e 2 of 2
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ATTACHMENT A

Nora Hilda de Jesus Lopez Orellana de Guerra and Macken Mahomed Guerra Lopez;

Estate of Dorlian Ronial Castillo Cabrera and Personal Representative Lillian Hummel,
Eban Perez, Jesus Castillo, and Wilder Castillo Cabrera:

Estate of Miguel Angel Luna and Personal Representatives John J. Condliffe and Lillian
Hummel, and Maria del Carmen Castellon Quintana
